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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                 4:12CR3114

       vs.
                                                              DETENTION ORDER
WILLIAM WHITEHOUSE,

                        Defendants.


       After affording the defendant an opportunity for a detention hearing under the Bail
Reform Act, 18 U.S.C. § 3142(f), the court concludes the defendant must be detained pending
trial.

        There is a rebuttable presumption that no condition or combination of conditions of
release will reasonably assure the defendant’s appearance at court proceedings and the safety of
the community because there is probable cause to believe the defendant committed a drug crime
under the Controlled Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be
required to serve ten or more years in prison. The defendant has not rebutted this presumption.

        Specifically, the court finds that the defendant has a criminal record which indicates a
propensity to violate the law and orders of the court; has a propensity to harm, coerce and
intimidate others; has a substance abuse addiction or abuses mood-altering chemicals and is
likely to continue such conduct and violate the law if released; has limited contacts with the
community; has failed to appear for court proceedings in the past; waived the right to a detention
hearing; and no conditions or combination of conditions are currently available which will
sufficiently ameliorate the risks posed if the defendant is released.

                                  Directions Regarding Detention

        The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of United
States Court or on request of an attorney for the Government, the person in charge of the
corrections facility must deliver the defendant to the United States marshal for a court
appearance.

       April 1, 2013.                               BY THE COURT:

                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
